            Case 3:16-cv-03362-M-BN Document 1 Filed 11/17/16                                               Page 1 of 2 PageID 1

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying fees or Costs (Short fonn)


                                        UNITED STATES DISTRICT COURT                                                    .~Df01lrR18t
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                          PlaintiJjlPetitioner                                )
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                        Defendant/Respondent
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        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                        (Short Form)

         I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and
that J am entitled to the reHef requested.

          Jn support of this application, 1 answer the following questions under penalty of perjury:

          1. If incarcerated. I am being held at: - - - - - - - - - - - - - - - - - - - - - - - -
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institutfon where I was
incarcerated during the last six months.

          2. If not incarcerated. lfl am employed, my employer's name and address are:




My gross pay or wages are: $ /              33        fll C/f/lch   ,and my take-home pay or wages are:      $               per
 (speci[v pay period)    _M,()JJH+J_'J-----_____         _.
          3. Other Income. Jn the past 12 months, I have received income from the foJJowing sources (check all that apply):

       (a) Business, profession, or other self-employment                            O Yes                  ONo
       (b) Rent payments, interest, or dividends                                     o    Yes               ONo
       (c) Pension, annuity. or life insurance payments                              O Yes                  ONo
       (d) Disability, or worker's compensation payments                             0 Yes                  ONo
       (e) Gifts, or inheritances                                                    0 Yes                  LJNo
       ( t) Any other sources                                                        r:?f Yes               ONo

         ffyou answered "Yes" to any question above, describe below or on separate pages each source ofmoney and
state the amount that you received and what you expect to receive in the future.

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            Case 3:16-cv-03362-M-BN Document 1 Filed 11/17/16                                                  Page 2 of 2 PageID 2

AO 240 (Rev. 07/l 0) Applicatioo to Proceed in l>iMrict Court Without Prepaying Fees or Costs (Short Form)



           4. Amount of money that I have in cash or in a checking or savings account: $                       ff
        5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work. or other financial instrument or
thing of value that I own, including any item of value held in someone else's name (describe the property and iu approximate

value):   ff ~ODO 5Aru/l;V JO;J {joo ~)


           6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide
the amount ofthe monthly expense):

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        7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much l contribute to their support:




           8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

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       Declaration: I declare under penalty of perjury that the above infonnation is true and understand that a false
statement may result in a dismissal of my claims.

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